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 5                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 6                                    AT SEATTLE

 7
      QUEEN ANNE NORTH
      HOMEOWNERS ASSOCIATION, et al.,
 8
                             Plaintiffs,
 9
                                                       C20-104 TSZ
            v.
10
                                                       MINUTE ORDER
      ALLSTATE INSURANCE COMPANY,
11    et al.,
12                           Defendants.

13    QUEEN ANNE NORTH
      HOMEOWNERS ASSOCIATION, et al.,
14
                             Plaintiffs,               C20-365 TSZ
15     v.

16    CENTURY SURETY COMPANY, et al.,
                Defendants.
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        The following Minute Order is made by direction of the Court, the Honorable
19 Thomas S. Zilly, United States District Judge:
          (1)     The Court has reviewed the Joint Status Report, docket no. 14, filed in
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   Case No. C20-365 and the allegations in the pleadings filed in both cases, Case No. C20-
21 104 (docket nos. 1, 10, & 11) and Case No. C20-365 (docket nos. 11, 13, & 15).
   Although the Court does not conclude that the cases should be consolidated at this time,
   the parties in both cases, Case No. C20-104 and Case No. C20-365, are DIRECTED to
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     MINUTE ORDER - 1
              Case 2:20-cv-00365-TSZ Document 16 Filed 09/22/20 Page 2 of 2




 1 conduct a conference pursuant to Federal Rule of Civil Procedure 26(f) and to submit a
   Combined Joint Status Report and Discovery Plan to determine: (i) whether the parties
 2 should serve a notice of deposition for each shared witness; (ii) whether discovery may
   be used in both cases; and (iii) other methods to avoid duplicative discovery.
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          (2)    The Combined Joint Status Report and Discovery Plan shall be FILED on
 4 or before noon on Thursday, October 15, 2020.

 5          (3)   The Clerk is directed to send a copy of this Minute Order to all counsel of
     record.
 6          Dated this 22nd day of September, 2020.
 7
                                                      William M. McCool
 8                                                    Clerk

 9                                                    s/Karen Dews
                                                      Deputy Clerk
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     MINUTE ORDER - 2
